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aramco

Technolegy and immevation

Investing: {mst

 

Saudi Aramco Energy Ventures (SAEV) is a corporate venture capital fund investing
globally in early-stage and high-growth technology companies that offer new, scalable
technology of strategic value to Aramco.

The Americas team has identified and invested in a number of start-ups with innovative
technologies in areas such as information technology, well stimulation tools, valve technology,

building fabrication and others.

The team acts as an internal advocate to bring external innovation into the company to

supplement our in-house R&D program and activities to provide us with a competitive edge.

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= Menu

 

aramco |

Technology and innovation

Collaborate with us

 

We believe the most progressive organizations look everywhere for ideas, capabilities,
and strengths aligned with their own to achieve transformative results. We employ the
best and brightest, but we also believe that collaboration with service companies,
academics, national labs and other stakeholders delivers impactful results.

Our industry experts hold leadership positions in professional societies and standards setting
organizations and are invited to deliver keynotes and technical papers at key conferences
around the world to share their knowledge, research and insights on a variety of energy

topics.

 

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Researchers in the lab at Aramco Research Center - Houston.

Organizations such as the American Petroleum Institute (API), Society of Petroleum Engineers
(SPE), American Association of Petroleum Geologists (AAPG), American Chemical Society
(ACS), the Institute of Electrical and Electronics Engineers (IEEE) and Society of Automotive
Engineers (SAE) among others look to our active participation and the results of our research
and collaborations to help develop recommended best practices or develop standardized

certification testing programs.

We maintain research relationships with leading academic institutions and participate in

forums that bring industry, business and academia together to take research from the lab into

the field and scale-up new technology.

 

bisa.

Careers

Do your best work here. Join our team and enjoy a rewarding career where openness,

knowledge sharing, and innovation are at the very core of everything we do.

Vale

 

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soudi aramco

Creating value

Technology development

Powering the economies of tomorrow

Continuous investment in technology is an essential enabler of our companu’s long-

 

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-erm viabilitu. Qur approach helps to reinforce our global position in oil and gas by

driving production efficiency and resilience.

We focus on innovative upstream and downstream technologies that make our resources and
products more accessible, useful, sustainable, and competitive. By originating impactfui,

innovative solutions, we can make meaningful, positive contributions to major global energy

issues for the benefit of our business, and energy consumers around the worlc.

Global research centers

 

With a global network that spans the world, our scientific research continues literally around

the clock.

Pela

 

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In-house developed technologies

We are engineering solutions in-house that continuously enhance our productivity and

efficiency.

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Strategic investments

We invest in ideas that have the potential to develop into scalable technologies.

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TSR 3 em

Transport technologies

The greatest opportunity to reduce emissions from tomorrow's transport sector comes from
developing innovative fuel formulations and efficient internal combustion engine technologies

today.

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TeraPOWERS

| Since Saudi Aramco’'s cornerstone reservoir modeling technology - POWERS - was first

_ deployed in 2000, it has taken evolutionary steps from mega-cell to giga-cell and now to
| industry-first tera-cell simulation capability. With the world’s first trilllon-cell run,

: TeraPOWERS is a major breakthrough for the company and the global scientific

| community. Achieved in collaboration with the King Abdullah University of Science and

| Technology, TeraPOWERS will be able to simulate oil migration problems in the Kingdom

in a fraction of the time it once took.

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ABU DHABI, November 11, 2019

Saudi Aramco participates in the 2019 Abu Dhabi International
Petroleum Exhibition & Conference (ADIPEC) .

 

SAN ANTONIO, Texas, U.S., October 09, 2019

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Energy is an essential enabler of human progress. Advance ng sumas oregress and economic development while

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Technology development

Crude to chemicals

Chemicals is the fastest grow:ng crude oil demand sector. It is also the fastest growing segment of our business. So
we're working hard to develop new, more efficient ways to convert crude oil into chemicals.

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